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                                      EXHIBIT D




DOCS_DE:238920.1 05233/003
                    Case 22-50321-CTG          Doc 1-4   Filed 05/09/22   Page 2 of 7


                         INDIANA SECRETARY OF STATE
                      UNIFORM COMMERCIAL CODE DIVISION
                                FILING ACKNOWLEDGMENT

 INDIANA SECRETARY OF STATE
 BUSINESS SERVICES DIVISION
 302 West Washington Stree~ Room E018
 Indianapolis, IN 46204
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   INDIANAPOLIS, IN 46204




Date:                 10/1812016 10:33:34 AM
File Number:          201600008001725
Document Number:      201600008315228
Receipt Number:       251414
Payment Number:       249461

Date I Time Filed                          Lapse Date                          # of Pages
10/17/20165:30:00   PM                     10105/2021                                1


Filing Type
Amendment (Amendment)


Debtor(s}


Secured Party(s)
AVF FRANCHISING, LLC         6500 E. 14 MILE ROAD WARREN, MI48092




Certificate # 2016101939172, Page 1 of 1
FILING ACKNOWLEDGEMENT
                                                          Case 22-50321-CTG                                                             Doc 1-4                             Filed 05/09/22                                       Page 3 of 7
File #: 201600008001725                                                                                                                                                                                                                                             DeN: 201600008315228


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             ,0. OPTIONAl. F1lER REFERENCE. DATA:
                      J. OIUman, Inc.
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Page: 1 of 1
                        Case 22-50321-CTG                  Doc 1-4             Filed 05/09/22                 Page 4 of 7




                                                           Filing Results

                                                                                                  Date:        11/01/2016
                                                                                                  Order#:      55945980
LINDA PAULSELL                                                                                    Customer #: 34460
ART VAN FURNITURE, INC.                                                                           Reference 1: 34460 (Art Van
6500 E 14 Mile Rd                                                                                              Furniture)
Warren, MI 48092-1295                                                                             Reference 2: --


Target Name:        J. Dillman, Inc.


Jurisdiction:      Secretary         of State, Indiana


            Filing Type:          UCC Financing Statement                                                 Searched Through: -
            Results:              See attached filing acknowledgement

Document Listing:

File #                                                   File Date                                       Type of Filing

201600008001725                                          10106/2016                                      Original Financing Statement




            Filing Type:          Debtor Notification (Indiana Only)                                      Searched Through: --
            Results:              See attached filing acknowledgement




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                                                                    1 of 1
                    Case 22-50321-CTG         Doc 1-4   Filed 05/09/22   Page 5 of 7


                             INDIANA SECRETARY OF STATE
                        UNIFORM COMMERCIAL CODE DIVISION
                             FILING ACKNOWLEDGMENT

 INDIANA SECRETARY OF STATE
 BUSINESS SERVICES DIVISION
 302 West Washington Street Room E018
 Indianapolis, IN 46204
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   INDIANAPOLIS, IN 46204




 Date:                  10/6/20167:13:34 AM
 File Number:           201600008001725
 Document Number:       N/A
 Receipt Number:        251205
 Payment Number:        249280

 Date 1Time Filed                          Lapse Date                          #of Pages
 1015/2016 5:30:00 PM                      10/0512021                              2

Filing Type
Initial


Debtar(s)
J. DILLMAN, INC. 625 N. CR 650 W YORKTOWN, IN 47396
ART VAN FURNITURE, INC.    6500 E. 14 MILE ROAD YORKTOWN, IN 48047396

Secured Party( s)




Certificate # 2016100636772, Page 1 af 1
FILING ACKNOWLEDGEMENT
                                                           Case 22-50321-CTG                                                              Doc 1-4                                       Filed 05/09/22                                     Page 6 of 7
  File #: 201600008001725                                                                                                                                                                                                                                                           DeN: 201600008001725


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                                               EXHIBIT A
                                       UCC FINANCING STATEMENT


DEBTOR:          .I.   Dillman, Inc.

SECURED PARTY: Art Van Furniture Inc.

All of Debtor's right, title and interest in all personal property of the Debtor including, without limitation:

        (a)      All assets of the Debtor, and all of the other following described property in which
                 Debtor now or hereafter acquires an interest in whatever form, whether acquired or
                 arising after the date of this filing, and in any and all proceeds thereof: the Franchise
                 Agreement between Debtor and Secured Party dated August 19, 2016, as amended or
                 supplemented, and all rights related thereto, inventory, equipment, fixtures, accounts,
                 deposit accounts, goods, documents, letter-of-credit rights, chattel paper, instruments and
                 general intangibles used in connection with Debtor's Art Van Furniture, Inc. franchise
                 business located at 470 I Wheeling A venue, Muncie, Indiana (the "Collateral").

        (b)      The terms used in this collateral description (whether or not capitalized) to describe the
                 Collateral (whether directly or as part of another defined term) include the meanings
                 ascribed to such terms in Articles 8 or 9 ofthe Uniform Commercial Code (including any
                 term used in such Articles which are defined in other Articles of the Uniform
                 Commercial Code), except that (i) meaning of such terms will not be limited by reason of
                 any limitation on the scope of the Uniform Commercial Code, by reason of federal
                 preemption or otherwise, and (ii) to the extent the definition of any category or type of
                 Collateral is expanded by any amendment, modification or revision to the Uniform
                 Commercial Code, such expanded definition will apply automatically as the date of such
                 amendment, modification or revisions.




                                                     Page 1
